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                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                               TAMPA DIVISION


PAUL MATHIESON,

      Petitioner,

v.                                                     CASE NO: 8:04-CV-265-T-30MAP
                                                        Crim. Case No: 8:98-CR-322-T-30MAP
UNITED STATES OF AMERICA,

      Respondent.
____________________________________/

                                        ORDER

      THIS CAUSE comes before the Court upon Petitioner’s Motion to Vacate, Set Aside,

or Correct Sentence Pursuant to 28 U.S.C. §2255 (CV Dkt. #1) filed on February 13, 2004,

Memorandum in support (CV Dkt. #2) filed on February 13, 2004, Petitioner’s Notice of

Clarification (Dkt. #18) filed on June 1, 2004, Petitioner’s Second Notice of Clarification

(Dkt. #20) filed on June 3, 2004, Petitioner’s 103-page Amended Memorandum in support

(CV Dkt. #25) filed on June 14, 2004, Petitioner’s Third Notice of Clarification (Dkt. #26)

filed on June 21, 2004, the Government’s Response (CV Dkt. #36) filed on August 16, 2004,

Petitioner’s Reply (Dkt. #50) filed on February 18, 2005, and Petitioner’s Notice of

Correction (Dkt. #52) filed on February 23, 2005. Upon consideration of the foregoing, the

Court determines that the petition should be denied.
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                                        Background

       Petitioner, Paul Mathieson (hereinafter referred to as “Mathieson” or “Petitioner”)

originally retained Michael Gonzalez to represent him in this matter. Subsequently,

Petitioner moved to represent himself and have Mr. Gonzalez remain as stand by counsel.

On March 1, 2001, the motion was granted but Mr. Gonzalez withdrew completely and Fred

Vollrath was appointed as stand by counsel. On April 4, 2001, Petitioner filed a motion to

have an attorney appointed to represent him. Mr. Vollrath was appointed as counsel on April

9, 2001. Petitioner pled guilty on June 1, 2001, to one count of racketeering, in violation of

18 U.S.C. §1962(d) pursuant to a written plea agreement. That plea agreement, in pertinent

part, provided as follows:

       A.     Particularized Terms

              2.     Maximum Penalties

              Count One carries a maximum sentence of 20 years imprisonment, a
       $250,000 fine, a term of supervised release of five (5) years, and a special
       assessment of $50 per felony count for offenses committed prior to April 24,
       1996, $100 per felony count thereafter; for organizations the amounts are
       “$200" and “$400" respectively, said special assessment to be due on the date
       of sentencing. With respect to certain offenses, the Court shall order the
       defendant to make restitution to any victim of the offense(s), and with respect
       to other offenses, the Court may order the defendant to make restitution to any
       victim of the offense(s), or to the community, as set forth below.

                                             ...

              9.     Low End

               At the time of sentencing, and in the event that no adverse information
       is received suggesting such a recommendation to be unwarranted, the United
       States will not oppose the defendant’s request to the Court that the defendant

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     receive a sentence at the low end of the applicable guideline range, as
     calculated by the Court. The defendant understands that this recommendation
     or request is not binding on the Court, and if not accepted by the Court, the
     defendant will not be allowed to withdraw from the plea.

                                            ...

     B.     Standard Terms and Conditions

            1.     Restitution, Special Assessment and Fine

             The defendant understands and agrees that the Court, in addition to or
     in lieu of any other penalty, shall order the defendant to make restitution to any
     victim of the offense(s), pursuant to 18 U.S.C. §3663A, for all offenses
     described in 18 U.S.C. §3663A(c)(1) (limited to offenses committed on or
     after April 24, 1996); and the Court may order the defendant to make
     restitution to any victim of the offense(s), pursuant to 18 U.S.C. §3663 (limited
     to offenses committed on or after November 1, 1987) or §3579, including
     restitution as to all counts charged, whether or not the defendant enters a plea
     of guilty to such counts, and whether or not such counts are dismissed pursuant
     to this agreement. On each count to which a plea of guilty is entered, the
     Court shall impose a special assessment, to be payable to the Clerk’s Office,
     United States District Count, and due on date of sentencing. The defendant
     understands that this agreement imposes no limitation as to fine.

                                            ...

            4.     Sentencing Guidelines and Recommendations

            It is understood by the parties that the Court is neither a party to nor
     bound by this agreement. The Court may accept or reject the agreement, or
     defer a decision until it has had an opportunity to consider the presentence
     report prepared by the United States Probation Office. The defendant
     understands and acknowledges that, although the parties are permitted to make
     recommendations and present arguments to the Court, the sentence and the
     sentencing guidelines, if any, applicable to defendant’s case will be determined
     solely by the Court, with the assistance of the United States Probation Office.
     Defendant understands that the Court is required to consider any applicable
     sentencing guidelines but may depart from these guidelines under some
     circumstances. Defendant acknowledges that defendant and defendant’s
     attorney have discussed the sentencing guidelines and the defendant

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     understands how the guidelines are applicable to defendant’s case. Defendant
     further understands and acknowledges that any discussions between defendant
     and defendant’s attorney and the attorney or other agents for the government
     regarding the potential application of the sentencing guidelines to defendant’s
     case and any recommendations by the government are not binding on the
     United States Probation Office or the Court and that, should any
     recommendations be rejected, and regardless of the guidelines calculated by
     the Probation Office or the Court, defendant will not be permitted to withdraw
     defendant’s plea pursuant to this plea agreement. The government expressly
     reserves the right to support and defend any decision that the Court may make
     with regard to the defendant’s sentence, whether or not such decision is
     consistent with the government’s recommendations contained herein.

            5.     Appeal of Sentence; Waiver

             The defendant understands and acknowledges that defendant’s sentence
     will be determined and imposed in conformance with the Comprehensive
     Crime Control Act of 1984 and the federal sentencing guidelines. Defendant
     is also aware that a sentence imposed under the sentencing guidelines does not
     provide for parole. Knowing these facts, the defendant agrees that this Court
     has jurisdiction and authority to impose any sentence up to the statutory
     maximum set forth for the offense and pursuant to the sentencing guidelines
     and expressly waives the right to appeal defendant’s sentence, directly or
     collaterally, on any ground, including the applicability of the “safety valve”
     provisions contained in 18 U.S.C. §3553(f) and USSG §5C1.2, except for an
     upward departure by the sentencing judge, a sentence above the statutory
     maximum, or a sentence in violation of the law apart from the sentencing
     guidelines; provided, however, that if the government exercises its right to
     appeal the sentence imposed, as authorized by 18 U.S.C. §3742(b), the
     defendant is released from this waiver and may appeal the sentence as
     authorized by 18 U.S.C. §3742(a).

                                          ...

            8.     Voluntariness

            The defendant acknowledges that defendant is entering into this
     agreement and is pleading guilty freely and voluntarily without reliance upon
     any discussions between the attorney for the government and the defendant
     and defendant’s attorney and without the promise of benefit of any kind (other
     than the concessions contained herein), and without threats, force,

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     intimidation, or coercion of any kind. The defendant further acknowledges
     defendant’s understanding of the nature of the offense or offenses to which
     defendant is pleading guilty and the elements thereof, including the penalties
     provided by law, and defendant’s complete satisfaction with the representation
     and advice received from defendant’s undersigned counsel (if any). The
     defendant also understands that defendant has the right to plead not guilty or
     to persist in that plea if it has already been made, and that defendant has the
     right to be tried by a jury with the assistance of counsel, the right to confront
     and cross-examine the witnesses against defendant, the right against
     compulsory self-incrimination, and the right to compulsory process for the
     attendance of witnesses to testify in defendant’s defense; but, by pleading
     guilty, defendant waives or gives up those rights and there will be no trial.
     The defendant further understands that if defendant pleads guilty, the Court
     may ask defendant questions about the offense or offenses to which defendant
     pleaded, and if defendant answers those questions under oath, on the record,
     and in the presence of counsel (if any), defendant’s answers may later be used
     against defendant in a prosecution for perjury or false statement. The
     defendant also understands the defendant will be adjudicated guilty of the
     offenses to which defendant has pleaded and, if any of such offenses are
     felonies, may thereby be deprived of certain rights, such as the right to vote,
     to hold public office, to serve on a jury, or to have possession of firearms.

            9.     Factual Basis

     Defendant is pleading guilty because defendant is in fact guilty. The
     defendant certifies that defendant does hereby admit that the facts set forth
     below are true, and were this case to go to trial, the United States would be
     able to prove those facts beyond a reasonable doubt.

                                         FACTS

            Between December 1994 and continuing up to and including April 1,
     1998, ALFREDO CARRATALA and Paul Mathieson conspired together with
     others, both known and unknown, to commit acts against the United States,
     namely, to transport in interstate commerce, currently and items having a value
     in excess of $5000, which they knew to have been stolen. As part of this
     conspiracy, the defendant and others targeted pawn shops, jewelry stores, and
     federally insured credit unions for theft.

          On or about February 4, 1995, PAUL MATHIESON and other
     members of the group burglarized Florida Discount Jewelers in Winter Park,

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     Florida, and obtained approximately $1.5 million of jewelry.

            On January 3 and 4, 1997, PAUL MATHIESON and other members of
     the group committed a burglary at Love’s Jewelry, Miami, Florida, and
     obtained approximately $600,000.00 of jewelry and other property.

            On March 16, 1997, ALFREDO CARRATALA, PAUL MATHIESON,
     and other members of the group committed a burglary at Phoenix Jewelry,
     Miami, Florida, and obtained approximately $2 million in jewelry, gold and
     precious stones.

            On April 20, 1997, ALFREDO CARRATALA and PAUL
     MATHIESON committed a burglary at Suncoast Toys, Clearwater, Florida,
     and obtained approximately $11,000.00 in coins. That same evening
     ALFREDO CARRATALA, PAUL MATHIESON, and other members of the
     group also committed a burglary at Silver Mill Bingo, Tampa, Florida, and
     obtained approximately $11,000.00. They also took a safe from Silver Mill
     Bingo which was later recovered from a drainage ditch next to Valerio
     Wholesale, a warehouse rented by ALFREDO CARRATALA, in Clearwater,
     Florida.

            On April 30, 1997, ALFREDO CARRATALA, PAUL MATHIESON,
     and other members of the group committed a burglary of 49th Street Pawn,
     Pinellas Park, Florida, and obtained approximately $300,000.00 of currency,
     jewelry, and other property, and 23 firearms.

            On May 18, and 19, 1997, ALFREDO CARRATALA and other
     members of the group committed a burglary of Maurice Jewelers in Miami,
     Florida and obtained $1.5 million in jewelry. Much of this jewelry was taken
     to New York to be sold.

            On June 8, 1997, PAUL MATHIESON committed a burglary of
     Spectrum Diamonds, Boca Raton, Florida, and obtained approximately
     $135,000.00 in jewelry. On that same night, PAUL MATHIESON committed
     a burglary of AIDC Jewelers, Deerfield Beach, Florida. While he was in the
     business, the police arrived and MATHIESON fled, leaving his truck with the
     jewelry from Spectrum Diamonds and his identification.

           On July 26 and 27, 1997, ALFREDO CARRATALA, PAUL
     MATHIESON, and other members of the group committed a burglary at
     Antique Silver House, Seminole, Florida, and obtained approximately

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     $111,000.00 of jewelry, coins, silver bars, and other property.

            On August 31, 1997, ALFREDO CARRATALA and other members of
     the group committed a burglary at Franky’s Jewelry, Miami, Florida, and
     obtained approximately $1 million in cash and jewelry. Much of the jewelry
     from this burglary was taken to New York to be sold.

            On September 20, 1997, PAUL MATHIESON and other members of
     the group committed a burglary of 14 Karat Enterprises, Clearwater, Florida,
     and obtained approximately $300,000.00 of jewelry. The jewelry was
     recovered the same night from a vehicle rented by one of the members of the
     group.

            On October 4, 1997, ALFREDO CARRATALA and other members of
     the group committed a burglary of Samson Jewelers, Edison, New Jersey, and
     obtained approximately $300,000.00 in jewelry. Much of the jewelry from
     this burglary was taken to New York to be sold.

            On October 28 and 29, 1997, ALFREDO CARRATALA and other
     members of the group committed a burglary of El Brillante, Miami, Florida,
     and obtained approximately $100,000.00 in jewelry. Much of the jewelry
     from this burglary was taken to New York to be sold.

           On November 24 and 25, 1997, ALFREDO CARRATALA and other
     members of the group traveled out of Florida and committed a burglary at
     Designing Jewelers, East Longmeadow, Massachusetts, and obtained
     approximately $100,000.00. All of this jewelry was taken to New York to be
     sold.

            On December 8, 1997, ALFREDO CARRATALA, PAUL
     MATHIESON, and other members of the group traveled out of Florida and
     committed a burglary at Hanson Jewelry Store, Springfield, Massachusetts,
     and obtained approximately $1 million in jewelry. This jewelry was
     transported to Florida.

            On January 22, 1998, ALFREDO CARRATALA and other members
     of the group committed a burglary of an ATM at GTE Federal Credit Union,
     Clearwater, Florida. CARRATALA used a stolen vehicle to transport the
     ATM from the scene to a warehouse. The safe was cut open and
     approximately $30,000.00 removed.


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             On February 9, 1998, ALFREDO CARRATALA and other members
      of the group attempted to burglarize the ATM for GTE Federal Credit Union
      located at 11248 West Cedar Lake Drive, Crystal River, Florida. During this
      attempt, which was captured on video, at least three males utilizing a large roll
      off type commercial vehicle used to carry dumpsters, wrapped a cable around
      the ATM and dislodged it from its base. The cable snapped and the subjects
      fled the area.

             On or about February 12, 1998, ALFREDO CARRATALA and other
      members of the group burglarized Angels Jewelers located in McAllen, Texas.
      Approximately $100,000.00 of jewelry was obtained. All of the jewelry from
      this burglary was taken to New York to be sold.

             In early March, the PCSO and the FBI learned that CARRATALA and
      his group were planning to conduct jewelry store burglaries in the McAllen,
      Texas area. Agents of the FBI monitored a transponder placed on a vehicle
      used by the group.

             On March 15, 1998 through March 16, 1998, FBI agents observed this
      group conduct a burglary of the Gold Connection in McAllen, Texas. Agents
      then arrested CARRATALA and others.

             10.    Entire Agreement

              This plea agreement constitutes the entire agreement between the
      government and the defendant with respect to the aforementioned guilty plea
      and no other promises, agreements, or representations exist or have been made
      to the defendant or defendant’s attorney with regard to such guilty plea.

                                            ...


      On June 6, 2001, five days after entering it, Petitioner filed a motion to withdraw his

guilty plea. On August 28, 2001, Petitioner filed a motion to have Mr. Vollrath removed as

his attorney and have a new attorney appointed. That motion was granted on September 5,

2001, and Dan Daly, Esquire, was appointed as counsel. On September 20, 2001, this Court

denied the Motion to Withdraw Guilty Plea.

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      The Petitioner’s sentencing hearing took place over three days: November 15, 2002,

November 28, 2002, and December 14, 2001. Petitioner was represented by attorney Daniel

Daly at the beginning of sentencing. Upon Petitioner’s oral motion to represent himself, he

was allowed to proceed without counsel and Mr. Daly remained as stand-by counsel. On

December 14, 2001, the Court upwardly departed from the sentence called for by the

guidelines and sentenced the Petitioner to the statutory maximum of two hundred forty (240)

months of imprisonment to run concurrently with a sentence imposed in the Southern District

of Florida in case number 98-504-CR-Gold, to be followed by a three (3) year term of

supervised release.

      Mathieson appealed his sentence to the United States Court of Appeals for the

Eleventh Circuit, appeal number 02-10138-GG, raising the following issues:

      1.     The district court abused its discretion in denying the Petitioner’s
             motion to withdraw his plea;

      2.     The district court abused its discretion by upwardly departing from the
             guidelines in sentencing Petitioner to the statutory maximum;

      3.     The district court misapplied the burglary guideline to the Petitioner,
             who was convicted of membership in a racketeering enterprise engaged
             in interstate transportation of stolen property; and

      4.     The district court misapplied the obstruction of justice guideline.

The Eleventh Circuit affirmed the disposition of the case. United States v. Mathieson, 54

Fed. Appx. 690 (11th Cir. 2002).

      Petitioner has now timely filed his motion to vacate, set aside or correct his sentence

pursuant to 28 U.S.C. §2255. He raises the following fourteen (14) grounds:

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Ground One:         Mathieson’s sentence was imposed in violation of his right to due
                    process of law.

Ground Two:         Mathieson’s sentence was imposed in violation of the express and
                    implied terms of the agreement.

Ground Three:       Mathieson’s sentence was imposed in violation of his right to counsel.

Ground Four:        Mathieson’s sentence was imposed in violation of his right to fair and
                    impartial treatment by the Court.

Ground Five:        Mathieson’s guilty plea is invalid due to the waiver of his right to
                    appeal not being knowingly or intelligently entered.

Ground Six:         Mathieson’s guilty plea was not knowingly or intelligently entered due
                    to defense counsel Frederick W. Vollrath’s ineffectiveness and/or
                    failure to provide meaningful close assistance of counsel.

Ground Seven:       Mathieson’s sentence was imposed in violation of the law due to
                    defense counsel Daniel F. Daly’s ineffectiveness.

Ground Eight:       Mathieson’s unlawful sentence was not corrected due to appellate
                    counsel Daniel F. Daly’s ineffectiveness.

Ground Nine:        Mathieson’s conviction and/or his sentence is unlawful due to
                    defense/appellate counsel Daniel F. Daly’s conflict of interest.

Ground Ten:         Mathieson’s sentence is unlawful due to the district courts imposition
                    of improper orders of restitution.

Ground Eleven:      Mathieson’s conviction is unlawful due to defense/appellate counsel
                    Daniel F. Daly’s ineffectiveness.

Ground Twelve:      Mathieson’s conviction is unlawful due to the district court judges bias,
                    prejudice, and lack of impartiality towards Mathieson.

Ground Thirteen: Mathieson’s guilty plea was not knowingly, intelligently, and/or
                 voluntarily entered due to his mental, emotional, and/or psychological
                 disorders.



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Ground Fourteen: The government committed a Brady violation when it failed to disclose
                 grand jury records to the Petitioner prior to the entering of his guilty
                 plea.

                                    Standard of Review

       Title 28 U.S.C. §2255 sets forth the framework for reviewing a federal prisoner’s

sentence for any of the following four reasons: (1) the sentence was imposed in violation of

the Constitution of the United States; (2) the court was without jurisdiction to impose such

a sentence; (3) the sentence was in excess of the maximum authorized by law; or (4) the

sentence is otherwise subject to collateral attack. 28 U.S.C. § 2255. Case law establishes

that only constitutional claims, jurisdictional claims, and claims of error so fundamental as

to have resulted in a complete miscarriage of justice are cognizable on collateral attack. See

United States v. Addonizio, 442 U.S. 178, 185 (1979); Hill v. United States, 368 U.S. 424,

428 (1962); see also Richards v. United States, 837 F.2d 965, 966 (11th Cir. 1988).

       Generally, an available challenge to a criminal conviction or sentence must be

advanced on direct appeal or else it will be considered procedurally barred in a § 2255

proceeding. See Greene v. United States, 880 F.2d 1299, 1305 (11th Cir. 1989) (and the cases

cited therein), cert. denied, 494 U.S. 1018 (1990). A ground of error is usually “available”

on direct appeal when its merits can be reviewed without further factual development.

       To establish a prima facie claim of ineffective assistance of counsel, a petitioner must

show that counsel's performance was deficient and that the deficient performance prejudiced

the defense. Strickland v. Washington, 466 U.S. 668, 687 (1984). Deficient performance is

performance which is objectively unreasonable under prevailing professional norms. Id. at

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688. Prejudice results when there is "a reasonable probability that, but for counsel's

unprofessional errors, the result of the proceeding would have been different." Id. at 694.

The Eleventh Circuit has held that “[w]hen applying Strickland, we are free to dispose of

ineffectiveness claims on either of its two grounds.” Oats v. Singletary, 141 F.3d 1018, 1023

(11th Cir. 1998).

                                        Discussion

       The Court will now discuss the grounds raised by Petitioner. Where more than one

ground is related to the same subject matter, the Court may address those grounds together.

       Ground One:          Mathieson’s sentence was imposed in violation of his
                            right to due process of law.

       Ground Two:          Mathieson’s sentence was imposed in violation of the
                            express and implied terms of the agreement.

       Grounds one and two both deal with the appropriateness of the sentence entered by

this Court. In ground one, Petitioner asserts that the burglary guidelines should not have

been incorporated into the racketeering guideline in calculating his guideline range. Ground

two asserts that his plea agreement guaranteed him a low-end guideline sentence and the

Court’s upward departure to the statutory maximum violated the agreement. Both grounds

fail because they are either factually inaccurate and/or waived by his plea agreement.

       In fashioning his sentence, the Court calculated Defendant’s guideline sentencing

range and then, because of the extensive number of Defendant’s criminal violations,

upwardly departed to the statutory maximum of 240 months. Mathieson’s claim that the

government and the Court were bound to give him the low end of the guidelines by the terms

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of the plea agreement is factually incorrect. The government only agreed to not oppose

Mathieson’s request for a low end sentence.

       Section A.9. of Mathieson’s plea agreement provides:

       At the time of sentencing, and in the event that no adverse information is
       received suggesting such a recommendation to be unwarranted, the United
       States will not oppose the defendant’s request to the Court that the defendant
       receive a sentence at the low end of the applicable guideline range, as
       calculated by the Court. The defendant understands that this recommendation
       or request is not binding on the Court, and if not accepted by the Court, the
       defendant will not be allowed to withdraw from the plea.

       The government did exactly as it agreed to do by taking no position regarding a low

end sentence - it neither opposed nor recommended it. And, in any event, Petitioner’s plea

agreement is clear that the Court is not bound by a recommendation from either party that

the sentence be at the low end of the applicable guideline range.

       Also, Petitioner incorrectly describes his ability to appeal the Court’s upward

departure to the statutory maximum. Petitioner specifically reserved the right to appeal this

Court’s upward departure. (See paragraph B.5. of the plea agreement.) In fact, Petitioner

did appeal the upward departure (a claim Petitioner now describes as “frivolous” at page 74

of his Amended Memorandum) and this ground was rejected by the Eleventh Circuit. His

other grounds concerning his sentence were also raised on appeal and were rejected by the

Eleventh Circuit because of his appeal waiver in his plea agreement. (See paragraph B.5 of

the plea agreement.) A defendant’s waiver of the right to appeal “directly or collaterally”

encompasses his right to challenge his sentence in a §2255 proceeding. United States v.

Cockerham, 237 F.3d 1179 (10th Cir. 2001). An appeal waiver is valid if knowingly and

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voluntarily made. United States v. Bushert, 997 F.2d 1343 (11th Cir. 1993).

      Therefore, grounds one and two will be denied.

      Ground Three:        Mathieson’s sentence was imposed in violation of his
                           right to counsel.

      Ground Five:         Mathieson’s guilty plea is invalid due to the waiver of his
                           right to appeal not beinot guilty knowingly or
                           intelligently entered.

      Ground Six:          Mathieson’s guilty plea was not knowingly or
                           intelligently entered due to defense counsel Frederick
                           W. Vollrath’s ineffectiveness and/or failure to provide
                           meaningful close assistance of counsel.

      Ground Thirteen: Mathieson’s guilty plea was not knowingly, intelligently,
                       and/or voluntarily entered due to his mental, emotional,
                       and/or psychological disorders.

      In all of the foregoing grounds, Petitioner asserts various arguments why his guilty

plea should have been set aside. His reasons range from improper actions by the Court (both

District Judge and Magistrate Judge) to his alleged mental, emotional and psychological

disorders. At the outset, this Court notes that all of these arguments were made prior to

sentencing and this Court found them to be without merit. Petitioner appealed these issues

to the Eleventh Circuit and they were rejected. The Eleventh Circuit said:

      [T]here is no evidence of bad faith on the government’s part, and Mathieson
      failed to demonstrate a “fair and just” reason for allowing him to withdraw his
      guilty plea. The district court therefore acted well within its discretion in
      denying his motion to withdraw the plea.

54 Fed. Appx. 690, 694 (11th Cir. 2002).




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       Like an appeal waiver, a guilty plea forecloses many claims. Guilty pleas waive all

but jurisdictional claims up to the time of the plea. Stano v. Dugger, 921 F.2d 1125, 1150

(11th Cir.), cert. denied, 502 U.S. 835 (1991), and forecloses most claims from collateral

attack. See United States v. Broce, 488 U.S. 563, 569 (1989). This waiver includes

constitutional claims. See Wilson v. United States, 962 F.2d 996 (11th Cir. 1992) (pre-plea

ineffectiveness waived).

       After a conviction based on a guilty plea has become final, a petitioner may challenge

only the knowing and voluntary nature of the plea unless the record demonstrates that the

district court lacked the power to enter the conviction or impose the sentence. United States

v. Kaiser, 893 F.2d 1300 (11th Cir. 1990). In the context of a §2255 motion, a defendant who

enters a plea of guilty waives all non-jurisdictional challenges to the constitutionality of the

conviction, and only an attack on the voluntary and knowing nature of the plea can be

sustained. Broce, supra.

       Once again, Petitioner claims his guilty plea was not entered knowingly, intelligently

or voluntarily due to myriad reasons. But Petitioner’s claims are belied by his statements

made in open court. Those statements are presumed to be true. United States v. Gonzalez-

Mercado, 808 F.2d 796, 800 n.8 (11th Cir. 1987). These statements are not overcome by bald

assertions of misunderstanding. Harvey v. United States, 850 F.2d 388 (8th Cir. 1988).

When Petitioner entered his guilty plea, he made the following statements:

              THE COURT: Mr. Mathieson, you have been placed under oath. Do
       you understand that you are under oath, and if you answer any of my questions
       falsely, your answers may later be used against you in another prosecution for

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      perjury or making a false statement?

             DEFENDANT MATHIESON: Yes, I understand, Your Honor.

             THE COURT: How old are you?

             DEFENDANT MATHIESON: Forty-one.

             THE COURT: How far did you go in school?

              DEFENDANT MATHIESON: High school equivalency and four and
      a half years college.

             THE COURT: All right. So you can read and write?

             DEFENDANT MATHIESON: yes.

             THE COURT: Have you been treated recently for any mental illness or
      addition to narcotic drugs of any kind?

             DEFENDANT MATHIESON: No, sir.

            THE COURT: Are you currently under the influence of any drug,
      medication, or alcoholic beverage of any kind?

             DEFENDANT MATHIESON: No, Your Honor.

             THE COURT: Have you received a copy of the indictment pending
      against you, that is, the written charges made against you in this case?

             DEFENDANT MATHIESON: Yes, I have.

              THE COURT: Have you had the opportunity to discuss and have you
      fully discussed those charges and the case in general with Mr. Vollrath, your
      lawyer?

             DEFENDANT MATHIESON: Yes, I have.

             THE COURT: Are you fully satisfied with Mr. Vollrath’s
      representation and advice given to you in this case?


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             DEFENDANT MATHIESON: Yes, Your Honor.

             THE COURT: Is your willingness to plead guilty the result of
      discussions that you and your attorney have had with the attorney for the
      Government?

             DEFENDANT MATHIESON: Yes.

              THE COURT: And I believe you have signed a written plea agreement;
      is that correct?

             DEFENDANT MATHIESON: That’s correct, Your Honor.

            THE COURT: Before you signed the plea agreement, did you have the
      opportunity to read it?

             DEFENDANT MATHIESON: Yes, I did.


            THE COURT: Did you have the opportunity to discuss the plea
      agreement with your lawyer before you signed it?

             DEFENDANT MATHIESON: Yes, I did.

             THE COURT: Does the plea agreement represent in its entirety any and
      all understandings you have with the Government?

             DEFENDANT MATHIESON: Yes, it is.

             THE COURT: Do you understand the terms of the plea agreement?

             DEFENDANT MATHIESON: Yes, I do.

             THE COURT: Has anyone made any other or different promise or
      assurance of any kind to you in an effort to induce you to plead guilty in this
      case?

             DEFENDANT MATHIESON: Other than what’s in the plea agreement,
      no.



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             THE COURT: That’s right. Has anyone attempted in any way to force
      you to plead guilty in this case?

             DEFENDANT MATHIESON: No, sir.

             THE COURT: Are you pleading guilty of your own free will because
      you are guilty?

             DEFENDANT MATHIESON: Yes, sir.

             THE COURT: Do you understand that the offense to which you are
      pleading guilty is a felony offense; that if you plea is accepted, you will be
      adjudged guilty of that offense, and that such adjudication may deprive you of
      valuable civil rights. Such as the right to vote, the right to hold public office,
      the right to serve on a jury, and the right to possess any kind of firearm?

             DEFENDANT MATHIESON: Yes, I understand that.

             THE COURT: You’re pleading guilty to Count 1 of the third
      superseding indictment charging you with Rico conspiracy in violation of 18
      USC, Section 1962, Sub D which carries a maximum sentence of 20 years
      imprisonment, a 250,000 dollar fine, a term of supervised release of five years,
      and a special assessment of 100 dollars?

             DEFENDANT MATHIESON: Yes, I understand that.

            THE COURT: Do you understand that if you violate the conditions of
      supervised release, you can be given additional time in prison?

             DEFENDANT MATHIESON: Yes, Your Honor, I know that.

            THE COURT: Do you understand that in this plea agreement, you have
      agreed to restitution of $5.7 million?

             DEFENDANT MATHIESON: Yes.

             THE COURT: You also understand that you have agreed to forfeiture
      of assets?

             DEFENDANT MATHIESON: Yes.


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             THE COURT: You understand all of these possible consequences of
      your plea?

            DEFENDANT MATHIESON: Completely.

             THE COURT: Under the Sentencing Reform Act of 1984, the United
      States Sentencing Commission has issued guidelines for judges to follow
      determining the sentence in a criminal case.

            Have you and your attorney talked about how the sentencing guidelines
      might apply in your case?

            DEFENDANT MATHIESON: Yes, we have, Your Honor.

             THE COURT: Do you understand that the Court will not be able to
      determine the guideline sentence for your case until after the presentence
      report has been completed, and you and the Government have had an
      opportunity to challenge the reported facts and the application of the
      guidelines recommended by the probation officer, and that the sentence
      imposed may be different from any estimate your attorney may have given
      you?

            DEFENDANT MATHIESON: Yes, I understand that.

             THE COURT: Do you also understand that after your guideline range
      has been determined, the Court has the authority in some circumstances to
      depart from the guidelines and impose a sentence that is more severe or less
      severe than the sentence called for by the guidelines?

            DEFENDANT MATHIESON: Yes, I understand that.

             THE COURT: Do you also understand that parole has been abolished,
      and that if you are sentenced to sentence [sic] , you will not be released on
      parole?

            DEFENDANT MATHIESON: Yes, I understand that also.

            THE COURT: Do you also understand that under some circumstances,
      you or the Government may have the right to appeal any sentence that I
      impose?


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             DEFENDANT MATHIESON: Yes, I understand that also.

              THE COURT: In your plea agreement, you have expressly waived the
      right to appeal your sentence directly or collaterally on any ground, including
      the applicability of the Safety Valve provisions contained in 18 USC, Section
      3553, Sub F and the United States Sentencing Guidelines Section 5(c)1.2
      except for an upward departure by the sentencing judge, a sentence above the
      statutory maximum, or a sentence in violation of the law apart from the
      sentencing guidelines?

             DEFENDANT MATHIESON: Yes, I understand that.

              THE COURT: Do you understand that you have a right to plead not
      guilty to the offense charged against you and to persist in that plea?

             DEFENDANT MATHIESON: Yes, I do.

              THE COURT: Do you understand that you would then have the right
      to a trial by jury; at that trial, you would be presumed to be innocent, and the
      Government would have to prove your guilt beyond a reasonable doubt. and
      that you would have the right to the assistance of counsel for your defense; the
      right to see and hear all of the witnesses and have them cross-examined in your
      defense?

             DEFENDANT MATHIESON: Yes, I understand that.

              THE COURT: You would have the right on your own part to decline
      to testify unless you voluntarily elected to do so in your own defense, and the
      right to the issuance of subpoenas or compulsory process to compel the
      attendance of witnesses to testify in your defense?

             DEFENDANT MATHIESON: Yes, I understand that also.

             THE COURT: You understand that should you decide not to testify or
      put on any evidence these facts cannot be used against you?

             DEFENDANT MATHIESON: Yes, I understand.

              THE COURT: You further understand that by entering a plea of guilty,
      if that plea is accepted by the Court, there will be no trial, and you will have
      waived or given up your right to a trial as well as those other rights associated

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       with the trial as I have just described them?

              DEFENDANT MATHIESON: Yes, I understand that also.

Doc. CR-734, pages 19-26.

       Petitioner’s claims of mental, emotional and psychological disorders fare no better.

Petitioner fails to support these claims with anything more than his bald assertions. He does

not claim to be under a doctor’s care nor does he point to any medical report or record

evidence to support any such assertion. To the contrary, he denied any recent treatment for

a mental condition in his plea colloquy. He stated in open court that he had been properly

advised and that he understood the consequences of his plea. He will not now be heard to

contend that he swore falsely. United States v. Stitzer, 785 F.2d 1506 (11th Cir.), cert.

denied, 479 U.S. 823 (1986).

       Therefore, these grounds will be denied.

       Ground Six: Mathieson’s guilty plea was not knowingly or intelligently
                   entered due to defense counsel Frederick W. Vollrath’s
                   ineffectiveness and/or failure to provide meaningful close
                   assistance of counsel.

       Ground Seven:        Mathieson’s sentence was imposed in violation of the
                            law due to defense counsel Daniel F. Daly’s
                            ineffectiveness.

       Ground Eight:        Mathieson’s unlawful sentence was not corrected due to
                            appellate counsel Daniel F. Daly’s ineffectiveness.

       Ground Nine:         Mathieson’s conviction and/or his sentence is unlawful
                            due to defense/appellate counsel Daniel F. Daly’s
                            conflict of interest.



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       Ground Eleven:        Mathieson’s conviction is unlawful                due to
                             defense/appellate counsel Daniel F.               Daly’s
                             ineffectiveness.

       All of the foregoing grounds relate in one way or another to a claim of ineffective

assistance of counsel. A lawyer is presumed to be competent to assist a defendant and,

therefore, the burden is on the defendant to demonstrate the denial of the effective assistance

of counsel. United States v. Cronic, 466 U.S. 648, 658 (1984).

       Different attorneys will handle the same matter in different ways, all of them may be

within the bounds of professional norms. Therefore, when reviewing the manner in which

an attorney handled a particular issue, the Court is not to look at what was possible or

prudent or appropriate, but only at what was constitutionally compelled. Chandler v. United

States, 218 F.3d 1305 (11th Cir. 2000) (en banc), cert. denied, 531 U.S. 1204 (2001). The

burden of persuasion is on the Petitioner to prove that counsel’s performance was

unreasonable. Vague, conclusory, speculative, or unsupported claims cannot support an

ineffective assistance of counsel claim. Tejada v. Dugger, 941 F.2d 1551 (11th Cir. 1991),

cert. denied, 502 U.S. 1105 (1992).

       Ground six was addressed in the previous section concerning Petitioner’s argument

that his guilty plea was not knowing and voluntary. It is addressed again here because

Mathieson attempts to make the same argument in the guise of an ineffective assistance of

counsel claim. Petitioner discharged his first lawyer and was appointed Fred Vollrath,




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Esquire, as counsel. Mr. Vollrath represented Petitioner through the entry of his guilty plea.1

       Immediately after the Court accepted both his and Carratala’s guilty pleas, Petitioner

made various attempts to have his guilty plea withdrawn. His claim that Vollrath did not

give him proper advice is one such attempt.2 However, all of his claims about Vollrath are

belied by the terms of Petitioner’s written plea agreement and his statements under oath on

the record:

              THE COURT: Under the Sentencing Reform Act of 1984, the United
       States Sentencing Commission has issued guidelines for judges to follow
       determining the sentence in a criminal case.

             Have you and your attorney talked about how the sentencing guidelines
       might apply in your case?

              DEFENDANT MATHIESON: Yes, we have, Your Honor.

              THE COURT: Do you understand that the Court will not be able to
       determine the guideline sentence for your case until after the presentence
       report has been completed, and you and the Government have had an
       opportunity to challenge the reported facts and the application of the
       guidelines recommended by the probation officer, and that the sentence
       imposed may be different from any estimate your attorney may have given
       you?

              DEFENDANT MATHIESON: Yes, I understand that.




       1
        Mathieson did not enter his guilty plea until minutes before the deadline set by the
Government. Petitioner asserts that he only did so to accommodate his co-defendant
Carratala since the Government would not accept Carratala’s guilty plea unless Mathieson
also pled guilty.
       2
        Petitioner claims that Vollrath misled him about the guidelines’ calculation and did
not advise him that the Court may upwardly depart.

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              THE COURT: Do you also understand that after your guideline range
       has been determined, the Court has the authority in some circumstances to
       depart from the guidelines and impose a sentence that is more severe or less
       severe than the sentence called for by the guidelines?

              DEFENDANT MATHIESON: Yes, I understand that.

       As evidenced above, Mathieson was told by the Court that the sentencing guidelines

might differ from the estimate given by his attorney and that it had the authority to upwardly

depart to the statutory maximum. Moreover, Petitioner’s plea agreement clearly provided

that the Court was not bound by the guideline calculation and might upwardly depart. The

Court did upwardly depart to the statutory maximum. Petitioner had protected himself

against such an eventuality by preserving the right to appeal an upward departure. He did

appeal and lost. Further, his statements made in open Court establish that he well understood

his plea agreement and was satisfied with the advice of his attorney.

       Petitioner’s other claims of ineffective assistance of counsel concern Dan Daly’s

attempts to have his guilty plea withdrawn, and Daly’s performance at sentencing and on

appeal. 3 During the sentencing process, which lasted three days, Petitioner asked and was

allowed to represent himself with Daly remaining as stand-by counsel. Interestingly,

Petitioner does not blame himself for any of the alleged shortcomings he now perceives as

having occurred during his sentencing.




       3
        Following the entry of his guilty plea, Petitioner requested a new attorney and was
appointed Dan Daly.

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       Petitioner claims that Daly was ineffective for (1) not informing the Court that

Vollrath had been ineffective in advising him about his guilty plea; (2) failing to address all

the objections to the presentence report that Petitioner thought he should make at sentencing;

(3) not asking for additional time when the probation officer made “spontaneous guideline

determinations” at his second sentencing hearing; and (4) failing to inform the Court, as stand

by counsel, that the Government breached the plea agreement as previously discussed herein.

       The failure to make some arguments and not others is a tactical decision and is not

sufficient to support an ineffective assistance of counsel claim. Adams v. Wainwright, 709

F.2d 1443 (11th Cir. 1983). Monday morning quarterbacking an attorney’s reasonable

tactical decisions does not show them to be ineffective. Adams v. Balkcom, 688 F.2d 934

(11th Cir. 1982). In light of the facts admitted by Petitioner in his plea agreement, together

with the plain written descriptions of how the various sentencing factors could be considered

by the Court, it is apparent that all of Petitioner’s ineffective assistance of counsel claims are

meritless.

       Petitioner further claims that he received ineffective assistance of counsel from Daly

on appeal. The standard of proof and review are the same in the context of ineffective

assistance of appellate counsel as in the context of ineffective assistance of trial counsel.

Duest v. Singletary, 967 F.2d 472, 477 n.4 (11th Cir. 1992). In this case, Petitioner must first

show that his appellate counsel was objectively unreasonable in not raising the omitted issue.

Smith v. Robbins, 528 U.S. 259 (2000). However, appellate counsel who files a merits brief

need not raise every non-frivolous claim. Jones v. Barnes, 463 U.S. 745, 754 (1983)

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(effective appellate counsel "winnows out" weaker arguments even though weaker arguments

may be meritorious). The exercise of judgment involved in framing an appeal makes it

"difficult to demonstrate that [appellate] counsel was incompetent" under Strickland for

omitting a particular argument. Smith v. Robbins, 528 U.S. at 285-86 (citing Gray v. Greer,

800 F.2d 644, 646 (7th Cir. 1986) ("Generally, only when ignored issues are clearly stronger

than those presented, will the presumption of effective assistance of counsel be overcome")).

       To demonstrate prejudice, Petitioner must establish that it was reasonably probable

that, but for counsel's error, he would have prevailed on appeal. Smith v. Robbins, 528 U.S.

at 286. Petitioner must satisfy both prongs of the Strickland test in order to prevail on his

claim of ineffective assistance of appellate counsel. Id. at 289.

          Petitioner asserts that all four grounds raised by Daly on appeal were frivolous. (See

page 74 of the Amended Memorandum.) It is worth noting that Petitioner raises those same

“frivolous” arguments again in his §2255 motion presently before this Court.

       The Court has considered the issues that Petitioner now asserts should have been

raised on appeal, has considered their merits, and has determined that Mr. Daly was not

deficient in his performance in not raising them on appeal. Therefore, these grounds will be

denied.

       Ground Nine:            Mathieson’s conviction and/or his sentence is unlawful
                               due to defense/appellate counsel Daniel F. Daly’s
                               conflict of interest.

       In support of this ground, Petitioner argues that Daly had a conflict of interest in

bringing before the Court Daly’s own ineffective assistance of counsel. The acts that

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Petitioner asserts constitute ineffective assistance of counsel have been addressed above and

determined to be without merit. Mr. Daly has not been shown to have been deficient in any

performance in this case. Therefore, this ground will be denied.

       Ground Ten:          Mathieson’s sentence is unlawful due to the District
                            Court’s imposition of improper orders of restitution.

       In support of ground ten, Petitioner argues that the Court’s restitution was improper

for:

       1.     including victims outside those identified in the plea agreement;


       2.     ordering restitution for victims of crimes which occurred prior to the
              enactment of the Mandatory Victims’ Restitution Act, 18 U.S.C. §3663A; and

       3.     not determining the Petitioner’s ability to pay restitution.

       First, this ground has been procedurally defaulted because it was not raised on direct

appeal. Ordinarily, claims that are available and not raised on direct appeal are procedurally

defaulted and barred from consideration on collateral review absent a showing of cause and

actual prejudice or actual innocence. Bousley v. United States, 523 U.S. 614 (1998).

Petitioner has shown neither cause nor actual innocence.

       Even had it not been procedurally defaulted, this ground would fail. In his plea

agreement, Petitioner acknowledged that the Court may order him to make restitution to any

victim of his racketeering offense pursuant to 18 U.S.C. §3663 committed on or after

November 1, 1997. (See paragraph B.1 of the plea agreement.) 18 U.S.C. §3663A(a)(2)

provides:


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       For the purposes of this section, the term “victim” means a person directly and
       proximately harmed as a result of the commission of an offense for which
       restitution may be ordered including, in the case of an offense that involves as
       an element a scheme, conspiracy, or pattern of criminal activity, any person
       directly harmed by the defendant’s criminal conduct in the course of the
       scheme, conspiracy, or pattern.

The restitution is to include all reasonable foreseeable losses caused to the victims of the

conspiracy or scheme. United States v. Obasohan, 73 F.3d 309 (11th Cir. 1996). The

conspiracy to which Petitioner pled guilty extended from before and ran after the enactment

of the Mandatory Victims’ Restitution Act of 1996 (“MVRA”) on April 24, 1996. Therefore,

the MVRA is controlling for the entire period of the conspiracy. United States v. Futrell, 209

F.3d 1286 (11th Cir. 2000).

       Ground Four:           Mathieson’s sentence was imposed in violation of his
                              right to fair and impartial treatment by the Court.

       Ground Twelve:         Mathieson’s conviction is unlawful due to the District
                              Court judge’s bias, prejudice, and lack of impartiality
                              towards Mathieson.

       In support of these two grounds, Petitioner argues that this Court was biased and

prejudiced and should therefore vacate his sentence. He asserts the bias and prejudice is

evidenced by this Court’s judicial acts of:

       1.     entering an Order striking his motion for reconsideration of the Order adopting
              the Magistrate’s Recommendation to Deny his Motion to Discharge Counsel;

       2.     adopting erroneous guidelines in his sentencing;

       3.     imposing an illegal sentence; and

       4.     appointing Mr. Daly as his appellate counsel.


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He also argues that statements made by this Court in denying his ex parte motion to withdraw

his guilty plea because of his mental, emotional or psychological disorders evidence bias.

He does not identify the particular statements, but apparently they expressed the Court’s

reasoning in determining that Petitioner’s guilty plea was knowingly and voluntarily entered

and not the product of any mental or psychological disorder.

       Being ruled against is not evidence of bias. Like his ineffective assistance of counsel

claims, these claims by Petitioner are just one more attempt to set aside his sentence and

underlying guilty plea. These issues have been previously discussed herein and found to be

without merit.

       Therefore, this ground will be denied.

       Ground Fourteen: The government committed a Brady violation when it
                        failed to disclose Grand Jury records to the Petitioner
                        prior to the entering of his guilty plea.

       Petitioner raised ground fourteen for the first time in his Amended Memorandum in

support of his motion. His §2255 motion makes no mention of any alleged Brady violation

on the part of the Government. Mathieson now argues that the Government committed a

Brady violation when it failed to disclose Grand Jury records to the Petitioner prior to

entering his guilty plea. The due process of the Fifth Amendment to the Constitution

imposes an affirmative duty on the prosecution to produce at the appropriate time requested

evidence that is materially favorable to the defendant, either as direct or impeaching

evidence. Brady v. Maryland, 373 U.S. 83 (1963).

       To establish a Brady violation, Petitioner must prove:

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       1.     That the Government possessed evidence favorable to the Petitioner;

       2.     That the Petitioner does not possess the evidence nor could he obtain it himself
              with any reasonable diligence;

       3.     That the prosecution suppressed the favorable evidence; and

       4.     That had the evidence been disclosed to the defense, a reasonable probability
              exists that the outcome of the proceedings would have been different.



United States v. Bailey, 123 F.3d 1381, 1397 (11th Cir. 1997). The Constitution does not

require that the prosecution make a complete and detailed accounting to a defendant of all

the results of an investigation. Moore v. Illinois, 408 U.S. 786 (1972).

       In support of this ground, Petitioner makes a conclusory argument that the

“prosecution team” presented “unfounded, misleading, conclusory, and totally fabricated

testimony regarding (amongst other issues) the alleged start date of the RICO conspiracy

alleged.” Additionally, Petitioner makes what appears to be a Fourth Amendment argument

that the “prosecution team” presented to the Grand Jury Petitioner’s “list” of burglaries which

had been obtained from Petitioner at the time of his arrest. He argues that the prosecutors

deliberately manufactured federal jurisdiction over what should have been a state level

burglary case.

       First, the facts admitted by Petitioner in his plea agreement clearly support federal

jurisdiction in this case. (See Facts Basis, B.9 of Plea Agreement. See also B.5 of Plea

Agreement in which Mathieson agrees the Court has jurisdiction.) Second, Petitioner does

not support how the “false and wholly fabricated testimony” allegedly presented to the Grand

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Jury would have altered the outcome of his plea or trial in the face of his admitted facts.

And, third, he fails to show, other than by his bald assertions, that had the Grand Jury

evidence been disclosed to him before he entered his guilty plea, a reasonable probability

existed that the outcome of his proceedings would have been different. The Grand Jury

evidence would not change the facts that Mathieson acknowledged the Government could

prove at trial.

         For the foregoing reasons, this ground will be denied.

                                                 Conclusion

         Having addressed each of the grounds raised by Petitioner, and having determined that

they are meritless, the §2255 motion will be denied.

         It is therefore ORDERED AND ADJUDGED that:

         1.        Petitioner’s Motion to Vacate, Set Aside, or Correct Sentence Pursuant to 28

U.S.C. §2255 (CV Dkt. #1) is DENIED.

         2.        The Clerk is to enter judgment for Respondent, United States of America,

terminate any pending motions, and close this case.

         DONE and ORDERED in Tampa, Florida on June 12, 2006.




Copies furnished to:
Counsel/Parties of Record
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